 

Case 8:20-mj-00730-DUTY Document 7 Filed 11/05/20 Pagelof1 Page ID #:18

  

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WRAL DISTRICT OF CALIFORNIA

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UNITED STATES DISTRICT COURT

 

 

 

 

CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA, CASE NUMBER
PLAINTIFF
Vv. 8:20-MJ-00730
Gavino Tapia Bergara
ORDER OF TEMPORARY DETENTION
PENDING HEARING PURSUANT
DEFENDANT(S). TO BAIL REFORM ACT

 

, IT 1S ORDERED that a detention hearing

 

 

 

Upon motion of Defendant
is set for Friday, November 13 , 2020 , at 10:00 Ja.m. / p.m. before the
Honorable Autumn D. Spaeth "iGarknon 16

 

Pending this hearing, the defendant shall be held in custody by the United States Marshal or
and produced for the hearing.

 

(Other custodial officer)

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Dated: \ | a ; 0 L) j tooth

U.S. Distrietudge/Magistrate Judge

AUTUMN D. SPAETH

ORDER OF TEMPORARY DETENTION PENDING HEARING PURSUANT TO BAIL REFORM ACT

CR-66 (10/97)

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